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 1   William E. Bonham, SBN: 55478
     Attorney At Law
 2   Hotel de France Bldg. Old Sacramento
     916 2nd Street, 2nd Floor, Suite A
 3   Sacramento, CA 95814
     Telephone: (916) 557-1113
 4   Facsimile: (916) 557-1118
     E-mail: billbonham@mylaw.comcastbiz.net
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 6   Attorney for defendant
     JACOB COOK
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 2:15-CR-00204 TLN

12                      Plaintiff,                     STIPULATION AND ORDER TO
                                                       CONTINUE STATUS CONFERENCE
13          v.
                                                       Date: June 30, 2016
14   GRADY et. al.,                                    Time: 9:30 am
                                                       Judge: Hon. Troy L. Nunley
15                      Defendant.

16

17          Defendants, JACOB COOK and TOSH BABU, through their undersigned counsel, and

18   the United States, through its undersigned counsel, hereby agree and request that the status

19   conference currently set for Thursday, June 30, 2016 at 9:30 am be vacated and reset for

20   Thursday, July 28, 2016 at 9:30 am.

21          A continuance is necessary to allow defense counsel additional time to investigate and

22   evaluate the case, to conduct negotiations with the Government, and discussions with their

23   respective clients toward a potential resolution of the charges.

24          The parties further stipulate that the failure to grant a continuance in this matter would

25   deny counsel reasonable time necessary for effective preparation, taking into account the exercise

26   of due diligence; that the ends of justice served by granting this continuance outweigh the best

27   interest of the public and the defendant in a speedy trial; and that time should be excluded from

28   the computation of time within which trial must commence under the Speedy Trial Act from June
                                                       1
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 1   30, 2016, up to and including July 28, 2016, pursuant to 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv)
 2   and Local Code T-4, to allow defense counsel reasonable time to prepare.
 3          I, William E. Bonham, the filing party, have received authorization from my co-counsel
 4   and AUSA Matthew Morris to sign and submit this stipulation and proposed order on their behalf.
 5          Accordingly, the defense and the United States agree and stipulate that the status
 6   conference for defendants JACOB COOK and TOSH BABUS should be reset for Thursday, July
 7   28, 2016 at 9:30 am.
 8

 9   Dated: June 27, 2016                                PHILLIP A. TALBERT
                                                         Acting United States Attorney
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11                                                       Matthew Morris
                                                         MATTHEW MORRIS
12                                                       Assistant U.S. Attorney

13

14   Dated: June 27, 2016                                /s/ Christopher Cosca
                                                         CHRISTOPHER COSCA
15                                                       Counsel for defendant
                                                         TOSH BABU
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18   Dated: June 27, 2016                                By:/s/ William E. Bonham
                                                         WILLIAM BONHAM
19                                                       Counsel for defendant
                                                         JACOB COOK
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 1                                                ORDER
 2          The status conference currently set for Thursday, June 30, 2016 at 9:30 am is vacated and
 3   reset for Thursday, July 28, 2016, at 9:30 am.
 4          I find that the failure to grant such a continuance would deny counsel reasonable time
 5   necessary for effective preparation, taking into account the exercise of due diligence.
 6   Accordingly, the time within which the trial of this case must be commenced under the Speedy
 7   Trial Act is excluded from June 30, 2016, up to and including the date of the new status
 8   conference, July 28, 2016, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4.
 9   I specifically find that the ends of justice served by granting this continuance outweigh the best
10   interest of the public and defendants in a speedy trial within the meaning of 18 U.S.C. §
11   3161(h)(7)(A) and (B)(iv) and Local Code T-4. IT IS SO ORDERED.
12   Dated: June 28, 2016
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15                                                         Troy L. Nunley
                                                           United States District Judge
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